                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA


YARISA LEWIS,                                   ) Case No.: 2:20-cv-3159
                                                )
               Plaintiff,                       )
       vs.                                      )
                                                )
ACCOUTN RESOLUTION SERVICES,                    )
LLC; EXPERIAN INFORMATION                       )
SOLUTIONS, INC.                                 )
                                                )
               Defendant.                       )
                                                )

   PLAINTIFF’S OPPOSITION TO PETITIONER’S MOTION TO QUASH SERVICE

       Plaintiff Yarisa Lewis, by and through undersigned counsel, respectfully submits this

opposition to ARS Account Resolution Services’ (“ARS”) Motion to Quash the attempted

Service of Process and Dismiss Plaintiff’s Complaint [ECF 13]. This should be denied because

the Court should find that service was effectuated. Further, if service was not effective, Plaintiff

can show good cause for the delay and respectfully requests an extension of time to serve.

Alternatively, even if the Court decides that Plaintiff cannot show good cause, the Court should

still allow an extension of time.

       Fed. R. Civ. P. 4(m) states, that “[i]f a defendant is not served within 90 days after the

complaint is filed, the court – on motion or on its own after notice to the plaintiff – must dismiss

the action without prejudice against that defendant or order that service be made within a

specified time. But if the plaintiff shows good cause for the failure, the court must extend the

time for service for an appropriate period.”

       First, ARS should be estopped from claiming non-service because service was denied at

the location it now argues was the appropriate address. Specifically, Plaintiff attempted service at

the address that ARS admits is the right address within the appropriate time frame. However,
when the process server attempted service, they were told that the location was not accepting

service and gave another address. See Exhibit A, affidavit of non-service from October 14, 2020.

       The second two affidavits show attempts to serve ARS at the address that the first process

server was given. See Exhibits B and C. Specifically, the first process server was told to serve the

Alcoa Billing Center, at 3429 Regal Drive, in Knoxville, Tennessee 37701. The second affidavit

shows that the proper address was actually 3429 Regal Drive, in Alcoa, Tennessee, about twelve

miles outside of Knoxville. The last affidavit shows successful service was made on October 21,

2020, well within the 90 days set by Rule 4(m). Simply put, service was attempted at the address

that ARS now admits is the proper address. ARS was then given the other address to serve. ARS

cannot be allowed to avoid service by refusing service at one address and directing servers to an

inappropriate address. Instead, Rule 4(m) was satisfied because ARS was served at the

appropriate address and refused service.

       Likewise, another court in the Eastern District of Pennsylvania has found that service was

effectuated upon a defendant who had evaded service in a similar manner. In Agnew v. E8Trade

Sec. LLC, 811 F. Supp. 2d 1177, 1181 (E.D.Pa. 2011), the court actually ordered the U.S.

Marshals Service to attempt to serve the defendant at a specific address in California. However,

upon arriving at the location, the Marshal was told that process needed to be served at a different

(and incorrect) address in Pennsylvania. Upon a second attempt at the latter address, service was

not accepted. Id. At a subsequent hearing, the court found service was then effectuated via local

counsel and directed an entry of default against defendant for dilatory tactics in evading service

of process. Id. at 1182. The court later set aside the default for an alternative sanction of $10,000

as well as expenses incurred. Id. at 1186. Similarly, in this case, a first attempt at the correct
address was made. See Ex. A. The server was then directed to an incorrect address. ARS has thus

evaded service and the Court here should similarly find that service is now effectuated.

         Even if Rule 4(m) was only satisfied in spirit, and not in principle, then Plaintiff has

demonstrated good cause for an extension of time to serve, as Plaintiff’s agent was directed to

the “wrong” address.1 In the Third Circuit, courts determine extensions of time to serve based on

a two-pronged inquiry. “First, the court must determine whether good cause exists for the failure

to have effected service in a timely manner. If so, the extension must be granted. If good cause

has not been shown, however, the court still may grant the extension in the sound exercise of its

discretion.” McCurdy v. Am. Bd. of Plastic Surgery, 157 F.3d 191, 196 (3d Cir. 1998) (citing

MCI Telecomms. Corp. v. Teleconcepts, Inc., 71 F.3d 1086, 1098 (3d Cir. 1995)).

         The Third Circuit equates “good cause” with the concept of “excusable neglect,” which

requires “a demonstration of good faith on the part of the party seeking an enlargement and some

reasonable basis for noncompliance within the time specified in the rules.” MCI, 71 F.3d at 1097

(citations omitted). Further, “[g]ood cause exists ‘only when some outside factor[,] such as

reliance on faulty advice, rather than inadvertence or negligence, prevented service.’” Lepone-

Dempsey v. Carroll County Comm’rs, 476 F.3d 1277, 1281 (11th Cir. 2007) (citing Prisco v.

Frank, 929 F.2d 603, 604 (11th Cir. 1991)). In this case, since the server was told to serve

another address, this constitutes faulty advice and an “outside factor”, not contingent on

Plaintiff’s good faith efforts to effectuate service. As such, Plaintiff’s agent relied on “faulty”

advice from ARS itself and good cause is shown for an extension of time to obtain proper

service.2


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  ARS argues prematurely that there is “no excuse for Plaintiff failing to serve ARS Account Resolution Services
when Plaintiff identified the correct address . . . .” [ECF 13-2], p. 7. It is actually absurd for ARS to argue this point
without having knowledge of the circumstances.
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  Assuming ARS will now accept service at its Florida address.
       Alternatively, if the Court determines these circumstances do not constitute good cause,

Plaintiff still respectfully requests that the Court grant an extension of time to serve. “Even in the

absence of good cause, a district court has the discretion to extend the time for service of

process.” Lepone-Dempsey, 476 F.3d at 1281; Horenkamp v. Van Winkle & Co., 402 F.3d 1129,

1133 (11th Cir. 2005); Henderson v. United States, 517 U.S. 654, 663, 116 S. Ct. 1638, 134 L.

Ed. 2d 880 (1996). “[W]hen a district court finds that a plaintiff fails to show good cause . . . the

district court must still consider whether any other circumstances warrant an extension of time

based on the facts of the case.” Id. at 1282; see also Petrucelli v. Bohringer & Ratzinger, 46 F.3d

1288, 1307 (3d Cir. 1995). This relief may be justified if the applicable statute of limitations

would bar the refiled action, or if the defendant is evading service or conceals a defect in

attempted service. See Horenkamp, 402 F.3d at 1132-33 (citing Fed. R. Civ. P. 4(m), Advisory

Committee Note, 1993 Amendments). Courts must especially consider the statute of limitations

factor. The “fact that the suit cannot be resolved on the merits is a factor that must be given close

attention.” Panaras v. Liquid Carbonic Indus. Corp., 94 F.3d 338, 341 (7th Cir. 1996); see also

Hritz v. Woma Corp., 732 F.2d 1178, 1181 (3d Cir. 1984).

       In this case, the defendant has essentially evaded service by directing the server to

another address. Further, Plaintiff has brought an allegation under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). The FDCPA has a one-year statute of

limitations. 15 U.S.C. 1692k(d). At this point, without discovery, it is unknown how long ARS’

inaccurate reporting was maintained and it may be that the statute has now passed. Because the

FDCPA has a shor statute of limitations, Plaintiff may be barred from bringing that claim again.

Notably, this is in addition to defendant’s evasion of service. For these reasons, Plaintiff
respectfully requests an extension of time to serve ARS, if the Court deems that service was not

already effective.




Dated: December 29, 2020.

                                                     Respectfully submitted,

                                                     /s/ Nicholas Linker
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of December, 2020 a true and correct copy of the

foregoing document was sent to all counsel of record via the Court’s ECF system.


                                                                     /s/ Nicholas Linker
                                                                     Nicholas Linker, Esq.
